Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 1 of 7 PageID# 1035


                                                                         1005QN
Time of Request: Thursday, July 24, 2014     11:16:54 EST
Client ID/Project Name: 3014230-0001
Number of Lines: 217
Job Number:      1825:473339379

Research Information

Service:   LEXSEE(R) Feature
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Send to:   Stern, Jonathan
           SCHNADER HARRISON SEGAL & LEWIS
           750 9TH STREET NW
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Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 2 of 7 PageID# 1036
                                                                                                              Page 1




Analysis
As of: Jul 24, 2014

               GLENN ARRINGTON, Plaintiff - Appellant, v. E.R. WILLIAMS, INC.; E. RANDY
                             WILLIAMS, JR., Defendants - Appellees.

                                                    No. 12-6123

                      UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                 490 Fed. Appx. 540; 2012 U.S. App. LEXIS 16046

                                             May 17, 2012, Submitted
                                             August 1, 2012, Decided

NOTICE:   PLEASE REFER TO FEDERAL RULES                    OVERVIEW: The employee unsuccessfully challenged
OF   APPELLATE  PROCEDURE    RULE   32.1                   the district court's consideration of several pieces of
GOVERNING THE CITATION TO UNPUBLISHED                      evidence. His argument that much of the evidence relied
OPINIONS.                                                  on by the district court was hearsay that should not have
                                                           been considered flowed from a misunderstanding of
PRIOR HISTORY: [**1]                                       hearsay. The third-party statements concerning the
   Appeal from the United States District Court for the    employee's performance were offered not for the truth of
Eastern District of Virginia, at Alexandria.               the matters asserted therein, but as an explanation of why
(1:11-cv-00535-JCC-TCB). James C. Cacheris, Senior         appellees believed that terminating him was necessary
District Judge.                                            and appropriate. The employee unsuccessfully argued
Arrington v. ER Williams, Inc., 2011 U.S. Dist. LEXIS      that the district court erred in granting summary judgment
144909 (E.D. Va., Dec. 16, 2011)                           to appellees. He did not meet his burden of proving a
                                                           prima facie case of employment discrimination. He failed
DISPOSITION: AFFIRMED.                                     to show that his job performance met his employer's
                                                           legitimate expectations at the time of his discharge.
CASE SUMMARY:                                              During his leave of absence, the CEO and other
                                                           executives received a wealth of evidence detailing his
                                                           misconduct in the workplace. Reviewing those
PROCEDURAL POSTURE: Appellant former                       complaints, the CEO and other supervisors felt that the
employee alleged that appellees, his former employer and   employee was unfit to continue work in his position at
its CEO, terminated him on account of race, in violation   the Virginia office.
of 42 U.S.C.S. § 1981. He appealed the decision by the
United States District Court for the Eastern District of   OUTCOME: The judgment of the district court was
Virginia, at Alexandria, entering summary judgment in      affirmed.
favor of appellees.
Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 3 of 7 PageID# 1037
                                                                                                                     Page 2
                                490 Fed. Appx. 540, *; 2012 U.S. App. LEXIS 16046, **1



LexisNexis(R) Headnotes                                         court's grant of summary judgment, viewing the facts in
                                                                the light most favorable to the nonmoving party.


                                                                Civil Procedure > Summary Judgment > Burdens of
Civil Procedure > Appeals > Standards of Review >               Production & Proof > Movants
Abuse of Discretion                                             Civil Procedure > Summary Judgment > Standards >
Evidence > Procedural Considerations > Rulings on               Appropriateness
Evidence                                                        Civil Procedure > Summary Judgment > Standards >
[HN1] An appellate court reviews a district court's             Genuine Disputes
evidentiary rulings for an abuse of discretion.                 Civil Procedure > Summary Judgment > Standards >
                                                                Legal Entitlement
                                                                Civil Procedure > Summary Judgment > Standards >
Evidence > Hearsay > Rule Components > Truth of
                                                                Materiality
Matter Asserted
                                                                [HN6] Summary judgment is appropriate if the moving
[HN2] Under the Federal Rules of Evidence, hearsay is,
                                                                party shows that there is no genuine dispute as to any
in critical part, a statement that a party offers in evidence
                                                                material fact and that it is entitled to judgment as a matter
to prove the truth of the matter asserted in the statement.
                                                                of law. Fed R. Civ. P. 56(a).
Fed. R. Evid. 801(c). It follows, then, that a statement is
not hearsay where the proponent offers it not to prove the
truth of the matter asserted but rather for another purpose.    Civil Procedure > Summary Judgment > Burdens of
                                                                Production & Proof > Nonmovants
                                                                Civil Procedure > Summary Judgment > Burdens of
Evidence > Hearsay > Rule Components > Truth of
                                                                Production & Proof > Scintilla Rule
Matter Asserted
                                                                [HN7] In deciding a motion for summary judgment, the
Labor & Employment Law > Discrimination >
                                                                mere existence of a scintilla of evidence in support of the
Actionable Discrimination
                                                                nonmovant's position will be insufficient; there must be
[HN3] In an employment discrimination case, where
                                                                evidence on which the jury could reasonably find for the
third-party statements concerning an employee's
                                                                nonmovant.
performance are offered not for the truth of the matters
asserted therein, but as an explanation of why an
employer believes that terminating the employee was             Civil Procedure > Summary Judgment > Burdens of
necessary and appropriate, the evidentiary rules                Production & Proof > Nonmovants
governing the consideration of hearsay are not                  Civil Procedure > Summary Judgment > Opposition >
implicated.                                                     General Overview
                                                                Civil Procedure > Summary Judgment > Standards >
Civil Procedure > Appeals > Reviewability >                     Legal Entitlement
                                                                Evidence > Procedural Considerations > Burdens of
Preservation for Review
                                                                Proof > Allocation
[HN4] When an appellant did not raise a ground for
                                                                [HN8] A nonmoving party cannot resist summary
objection before the district court, that ground had been
                                                                judgment through mere speculation or the building of one
waived on appeal.
                                                                inference upon another. Mere unsupported speculation is
                                                                not sufficient to defeat a summary judgment motion if the
Civil Procedure > Summary Judgment > Appellate                  undisputed evidence indicates that the other party should
Review > Standards of Review                                    win as a matter of law.
Civil Procedure > Summary Judgment > Evidence
Civil Procedure > Summary Judgment > Standards >
                                                                Evidence > Procedural Considerations > Burdens of
Appropriateness
                                                                Proof > Allocation
Civil Procedure > Appeals > Standards of Review > De
                                                                Labor & Employment Law > Discrimination >
Novo Review
                                                                Disparate Treatment > Employment Practices > Adverse
[HN5] An appellate court reviews de novo a district
Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 4 of 7 PageID# 1038
                                                                                                                     Page 3
                                490 Fed. Appx. 540, *; 2012 U.S. App. LEXIS 16046, **1



Employment Actions > Discharges & Failures to Hire              employees, and developing business.
Labor & Employment Law > Discrimination >
Disparate Treatment > Proof > Burdens of Proof                      After receiving reports that Kelli Anthony, a former
[HN9] A plaintiff alleging discriminatory discharge must        ERW employee, had accused Arrington of sexual
establish a prima facie case. A prima facie case of             harassment, Williams, an African American, placed
employment discrimination comprises four elements: (1)          Arrington on administrative leave in April 2010.
membership in a protected class, (2) an adverse                 Williams then hired an outside contractor to investigate
employment action, (3) performance at a level meeting           Anthony's allegations and other evidence of Arrington's
the employer's legitimate expectations at the time of the       misconduct in the workplace.
adverse employment action, and (4) more favorable
                                                                     The ensuing investigative report cataloged accounts
treatment given similarly situated employees outside of
                                                                from four subordinates of Arrington at ERW, all of whom
the protected class. In evaluating whether a plaintiff has
                                                                accused him of improprieties. Cheryl Thomas [*542]
met his burden of demonstrating a prima facie case of
                                                                stated that Arrington made false promises about the
employment discrimination, a court's focus is on the
                                                                position that she filled, assuring her that it would involve
perception of the decision maker.
                                                                research analysis when it was actually purely
COUNSEL: David Ludwig, DUNLAP, GRUBB &                          administrative. According to Thomas, Arrington also
WEAVER, PC, Leesburg, Virginia; Henri T. Hammond,               promised that he would ensure that she received
Washington, D.C., for Appellant.                                additional pay for overtime hours, but he failed to keep
                                                                that promise. Anthony repeated her assertions that
Teresa Burke Wright, Amanda Vaccaro, JACKSON                    Arrington sexually harassed her, making unwanted sexual
LEWIS, LLP, Reston, Virginia, for Appellees.                    advances toward her, asking her out on dates several
                                                                times, and calling her "at all hours of the night." J.A. 146.
JUDGES: Before AGEE, DAVIS, and DIAZ, Circuit                   Nneka Pray stated that Arrington approached attractive
Judges.                                                         women to encourage them to work for [**3] ERW and
                                                                then changed his favored candidates' résumés to meet
OPINION                                                         qualifications. A final employee, Jennifer Sheppard,
                                                                alleged that Arrington induced her to leave her prior
     [*541] PER CURIAM:                                         employment to join ERW in a position for which he
                                                                knew that she was not qualified. Although Arrington
     Glenn Arrington sued E.R. Williams, Inc. ("ERW")           repeatedly assured her that she could handle the duties,
and its CEO, E. Randy Williams, Jr., alleging that they         Sheppard was ultimately discharged for inadequate
terminated his employment on account of race, in                performance.
contravention of federal law. The district court entered
summary judgment in favor of ERW and Williams                        At the same time that the investigation was taking
("Appellees"), and Arrington appealed. Agreeing with the        place, ERW executives received complaints about
district court that Arrington has failed to establish a prima   Arrington from three separate clients. All three clients
facie case of discrimination, we affirm.                        informed the executives that they did not want Arrington
                                                                to continue to do any work in their offices.
I.
                                                                     Initially hesitant to discharge Arrington, Williams
A.                                                              sought counsel from his attorney and two ERW
                                                                executives, all of whom recommended terminating
    A federal contractor, ERW provides financial and
                                                                Arrington's employment. Williams agreed that Arrington
administrative services and support to government
                                                                could not continue in his current position, a decision that
agencies. Arrington, an African American, joined ERW's
                                                                he characterized as grounded in "what [he] thought was
Virginia office as an employee, becoming the program
                                                                right and what was at risk for [his] company." Id. 600.
manager for the company's contract to staff the
                                                                Based on the results of the investigation, Williams
TRICARE Management Activity and Health Affairs
                                                                concluded that Arrington "was a liability to the company"
Front Offices. In this capacity, Arrington was responsible
                                                                and that his continued employment would "create unrest
[**2] for fostering client relationships, managing
                                                                within the employees [**4] . . . [and] with the clients."
Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 5 of 7 PageID# 1039
                                                                                                                      Page 4
                              490 Fed. Appx. 540, *542; 2012 U.S. App. LEXIS 16046, **4



Id. 643. At bottom, Williams thought that the numerous           Here, as the district court properly ruled, evidence of
complaints from employees and clients alike revealed             employee and client complaints about Arrington's
Arrington's ineffective leadership.                              performance was considered because ERW and
                                                                 Williams's "decisionmaking was under challenge, and
      But rather than discharge Arrington outright,              [they] explained it on the basis of the information [they]
Williams offered to transfer him to ERW's Huntsville,            received," Crockett v. Abraham, 284 F.3d 131, 134, 350
Alabama office. In a May 27 email, ERW gave Arrington            U.S. App. D.C. 296 (D.C. Cir. 2002). [**6] [HN3]
a little over a week to either accept the transfer offer or      Where, as here, "third-party statements concerning the
face termination from the company. On June 15, ERW               plaintiff's performance are offered not for the truth of the
reiterated to Arrington that he would be terminated if he        matters asserted therein, but as an explanation of why
declined to accept the Alabama position. After he refused        [the employer] believed that terminating the plaintiff's
the new position, ERW officially discharged Arrington            employment . . . was necessary and appropriate,"
on June 17 for his "inability to be an effective manager         evidentiary rules governing the consideration of hearsay
and leader." Id. 198.                                            are not implicated. See Royall v. Nat'l Ass'n of Letter
                                                                 Carriers, 507 F. Supp. 2d 93, 98 n.10 (D.D.C. 2007). 2
B.
                                                                        2 Arrington also maintains that the evidence of
    Arrington responded to his discharge by filing suit in              employee and client complaints was not relevant.
the U.S. District Court for the Eastern District of                     Alternatively, he claims that the district court
Virginia. He alleged that ERW and Williams discharged                   should have refused to consider the evidence
him on account of his race, in violation of 42 U.S.C. §                 because the danger of unfair prejudice
1981. 1                                                                 substantially outweighed the probative value of
                                                                        the evidence. [HN4] Arrington, however, did not
     Appellees moved for summary judgment. Holding
                                                                        raise these grounds for objection before the
that Arrington had failed to establish a prima facie case of
                                                                        district court and thus has waived them on appeal.
employment discrimination, the district court entered
summary judgment in favor of Appellees. Arrington                III.
timely noted this appeal.
                                                                      Arrington next contends that the district court erred
        1 Arrington's initial complaint included a count         in granting summary judgment to Appellees. [HN5] We
        alleging [**5] defamation, but he struck that            review de novo the district court's grant of summary
        claim from his amended complaint.                        judgment, viewing the facts in the light most favorable to
                                                                 the nonmoving party. EEOC v. Xerxes Corp., 639 F.3d
II.
                                                                 658, 668 (4th Cir. 2011). [HN6] Summary judgment is
    Arrington first challenges the district court's              appropriate if the moving party [**7] "shows that there
consideration of several pieces of evidence. [HN1]               is no genuine dispute as to any material fact" and that it is
Ascertaining no abuse of discretion in the district court's      "entitled to judgment as a matter of law." Fed R. Civ. P.
evidentiary rulings, see King v. McMillan, 594 F.3d 301,         56(a). [HN7] "The mere existence of a scintilla of
[*543] 310 (4th Cir. 2010), we reject Arrington's claims.        evidence in support of the plaintiff's position will be
                                                                 insufficient; there must be evidence on which the jury
     Arrington argues principally that much of the               could reasonably find for the plaintiff." Anderson v.
evidence relied on by the district court was hearsay that        Liberty Lobby, Inc., 477 U.S. 242, 252, 106 S. Ct. 2505,
should not have been considered. This contention,                91 L. Ed. 2d 202 (1986). [HN8] A nonmoving party
however, flows from a misunderstanding of hearsay.               cannot resist summary judgment "'through mere
[HN2] Under the Federal Rules of Evidence, "hearsay" is,         speculation or the building of one inference upon
in critical part, a statement that "a party offers in evidence   another.' " Othentec Ltd. v. Phelan, 526 F.3d 135, 140
to prove the truth of the matter asserted in the statement."     (4th Cir. 2008) (citation omitted); see also Francis v.
Fed. R. Evid. 801(c). It follows, then, that a statement is      Booz, Allen & Hamilton, Inc., 452 F.3d 299, 308 (4th
not hearsay where the proponent offers it not to prove the       Cir. 2006) ("Mere unsupported speculation is not
truth of the matter asserted but rather for another purpose.     sufficient to defeat a summary judgment motion if the
Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 6 of 7 PageID# 1040
                                                                                                                Page 5
                            490 Fed. Appx. 540, *543; 2012 U.S. App. LEXIS 16046, **7



undisputed evidence indicates that the other party should    six weeks that Arrington was on administrative leave,
win as a matter of law.").                                   Williams and other ERW executives received a wealth of
                                                             evidence detailing Arrington's misconduct in the
    Arrington maintains that he has met his burden of        workplace. Four of Arrington's subordinates lodged
proving a prima facie case of employment discrimination.     complaints about [**9] Arrington's job performance,
We find Arrington's contentions meritless and                including one employee's allegations that Arrington
accordingly affirm the district court's grant of summary     sexually harassed her. Moreover, three of ERW's clients
judgment.                                                    expressed dissatisfaction with Arrington's work, directing
                                                             ERW to remove him from any work involving them.
    [HN9] A plaintiff alleging discriminatory discharge      Reviewing these complaints, Williams and other ERW
must establish a prima facie case. King v. Rumsfeld, 328     supervisors felt that Arrington was unfit to continue work
F.3d 145, 149 (4th Cir. 2003). [**8] A prima facie case      in his position at the Virginia office. Arrington has
of employment discrimination comprises four elements:        simply proffered no evidence that he was meeting ERW's
(1) membership in a protected class; (2) adverse             expectations at the time of his discharge or that ERW and
employment action; (3) performance at a level meeting        Williams harbored any nefarious motives in terminating
the employer's legitimate expectations at the time of the    his employment. Arrington is thus unable to resist
adverse employment action; and (4) [*544] more               summary judgment. 3
favorable treatment given similarly situated employees
outside of the protected class. See Gerner v. Cnty. of              3 Because we conclude that Arrington has failed
Chesterfield, 674 F.3d 264, 266 (4th Cir. 2012); King,              to demonstrate adequate job performance, we
328 F.3d at 149. In evaluating whether a plaintiff has met          need not address his other challenges to the
his burden of demonstrating a prima facie case of                   district court's decision.
employment discrimination, our focus is on the
perception of the decision maker. Evans v. Techs.            IV.
Applications & Serv. Co., 80 F.3d 954, 960-61 (4th Cir.
1996).                                                           For the foregoing reasons, we affirm the judgment of
                                                             the district court. We dispense with oral argument
     Because Arrington has failed to show that his job       because the facts and legal contentions are adequately
performance at ERW met ERW's legitimate expectations         presented in the materials before the court and argument
at the time of his discharge, we hold that he has not        would not aid the decisional process.
satisfied his burden of establishing a prima facie case of
employment discrimination. During the approximately                AFFIRMED
Case 1:13-cv-01481-AJT-JFA Document 53-3 Filed 07/25/14 Page 7 of 7 PageID# 1041


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Time of Request: Thursday, July 24, 2014     11:16:54 EST

Print Number:    1825:473339379
Number of Lines: 217
Number of Pages: 5




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           SCHNADER HARRISON SEGAL & LEWIS
           750 9TH STREET NW
           WASHINGTON, DC 20006-1825
